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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 19-20497-CR-GAYLES


  UNITED STATES OF AMERICA,

  v.

  SHAROD WILLIAM HOLLIE.

  _______________________________/

       NON-PARTY JUDGE TERESA POOLER’S EXPEDITED MOTION TO
                         QUASH SUBPOENA

        Non-party the Honorable Theresa Pooler, a Circuit Court Judge sitting in the

  Eleventh Judicial Circuit, through undersigned counsel, asks that the Court quash

  the subpoena issued to her by the United States on February 18, 2022, for testimony

  in this case regarding her acceptance of a nolo contendre plea from the Defendant in

  July 2014. Judge Pooler seeks this relief on an expedited basis, pursuant to Local

  Rule 7.1(d)(2), S.D. Fla. L.R., because the deadline for compliance with the subpoena

  is February 23, 2022. Judge Pooler also seeks this relief on an expedited basis because

  the United States filed a Motion in Limine (ECF No. 66) yesterday seeking to admit

  Judge Pooler’s testimony, despite having been advised the day before that Judge

  Pooler would be filing a motion to quash the subpoena, and Judge Pooler seeks a

  ruling on this Motion to Quash before the Court rules on the Motion in Limine.

                                    BACKGROUND

        Judge Pooler has been subpoenaed by the United States as a witness for the

  trial of this case. A copy of the subpoena is attached as Exhibit A. Judge Pooler was

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  the presiding judge for the purpose of accepting a nolo contendre plea in July 2014 in

  State v. Sharod Hollie, Case No. F10-002497. The United States has a certified copy

  of the Judgment and Conviction related to Case No. F10-002497, entered in 2014

  subsequent to acceptance of Defendant’s plea. (ECF No. 58, referring to Gov. Exh. No.

  2).

        The Office of the Attorney General, which represents state judicial officers, was

  retained on Friday, February 18, 2022, and undersigned counsel contacted Assistant

  United States Attorney Klepach at 12:53 pm seeking a draft of the proffer of Judge

  Pooler’s testimony that was to be presented to this Court so that the undersigned

  could “get a response to you more promptly” and asking if it would be acceptable for

  the United States to wait until Monday morning (Feb. 21) to file its intended motion

  in limine.1 AUSA Klepach advised that she would send the requested information

  and asked that undersigned provide approval that day. During a subsequent

  telephone call on February 18th between the undersigned and AUSA Klepach, who

  was later joined by AUSA Daniel Bernstein, the undersigned advised the United

  States again that Judge Pooler had no specific recollection of the proceeding and that

  a motion to quash the subpoena (which had just been received that afternoon) was

  being considered.2



  1A copy of the undersigned’s email correspondence referenced above and throughout
  this Motion is available upon the Court’s request.

  When the United States first contacted the state court earlier this month, before the
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  undersigned’s office was retained, to ask if Judge Pooler recalled presiding over the
  plea proceedings in July 2014, the United States was informed that Judge Pooler had
  no recollection of this specific proceeding.
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         At 3:54 pm on Saturday, Feb. 19, 2022, AUSA Klepach asked the undersigned

  to confirm what Judge Pooler would testify to and provided the undersigned with a

  copy of an email AUSA Klepach had sent the night before with what was described

  as “some of the content of Judge Pooler’s proposed testimony.” (AUSA Klepach’s

  message sent at 5:43 pm on Friday, Feb. 18, was rejected by the mail server for the

  Attorney General’s Office due to its size.) At 8:44 pm on Saturday, Feb. 19,

  undersigned counsel advised counsel for the United States, in writing, that based on

  the information provided by the United States that “we plan to file a motion to quash

  the subpoena to Judge Pooler.”

         The United States listed these topics for the proposed testimony of the Judge:

     •   her usual plea colloquy practice in felony pleas;

     •   the effect of a no-contest plea;

     •   the difference between misdemeanor and felony offenses;

     •   that her standard plea colloquy is scripted;

     •   that her plea colloquy script includes advising defendants of the nature of the
         charges, the potential sentencing exposure, the defendant’s state of mind at
         the time of the plea, the terms of the plea offer, and the factual basis for the
         plea, among other information;

     •   that in cases where the defendant is pleading guilty to a felony, defendants
         are advised that they are doing so;

     •   in cases where a defendant is sentenced to probation, the Judge explains
         what probation violations are and their potential effect on the defendant’s
         exposure to incarceration; and

     •   that Judge Pooler presided over the plea colloquy that resulted in Defendant
         Hollie being adjudicated a convicted felon, although she has no independent
         memory of this defendant.


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  In the Motion in Limine, the United States added to the topics above by stating that

  they will seek to elicit testimony from Judge Pooler that she advises defendants “that

  the charge is a felony.” Motion (ECF No. 66), at 4.

        Although in an initial conversation with AUSA Klepach on Friday morning,

  February 18th, Judge Pooler indicated a willingness to testify as to whether she used

  a script for conducting a plea colloquy and what that script might cover generally, she

  did so before consulting with the Attorney General’s Office. At no time after that

  initial conversation, and at no time after service of the subpoena on Judge Pooler did

  she agree to testify to the list of topics described by the United States and she no

  longer agrees to testify as to any aspect of this matter.

                                        ANALYSIS

        Pursuant to Rule 17(c)(2), Fed. R. Crim. P., this Court may quash a subpoena

  if compliance with that subpoena would be unreasonable or oppressive. Compliance

  with the subpoena issued to Judge Pooler would be unreasonable for at least three

  reasons. First, Judge Pooler is being asked to recall her practices from more than 7

  years ago, when she has informed the United States that she has no specific

  recollection of the brief plea colloquy proceeding involving the Defendant. Second, the

  United States plans to ask Judge Pooler to describe legal aspects of plea proceedings,

  generally, e.g., “the difference between misdemeanor and felony offenses,” which are

  topics for which she is not the only possible source and also could be construed as an

  area that is this Court’s sole province in instructing a jury. Third, there is a high risk

  that in answering such questions posed by the United States (or the Defendant’s



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  attorney), the Judge’s thought process about her decision to accept Defendant’s plea

  would be revealed, and that is unreasonable because it is contrary to established

  precedent. Compliance with the subpoena also would be oppressive because it will

  interfere with Judge Pooler’s judicial duties, particularly because this week she is

  assigned to handle warrants and also has a full court calendar. Exh. B (Declaration

  of Judge Pooler), ¶ 5.

         For more than a century it has been the rule that judges cannot be compelled

  to discuss their decision-making, particularly when it involves a matter presided over

  years ago, or where there are other sources for the requested information. The

  Supreme Court, in Fayerweather v. Ritch, 195 U.S. 276, 307 (1904), held that the

  testimony of a trial judge six years after a case was disposed of:

         in respect to the matters [the judge] considered and passed upon, was obviously
         incompetent…. [N]o testimony should be received except of open and tangible
         facts,-matters which are susceptible of evidence on both sides. A judgment is a
         solemn record. Parties have a right to rely upon it…. It ought never to be
         overthrown or limited by the oral testimony of a judge … of what he had in
         mind at the time of the decision.

  Id., at 306.

         Although the request by the United States is framed in terms of Judge Pooler’s

  “routine” practice, the standard practice in a court may be different today than it was

  more than 7 years ago. Exh. B (Declaration of Judge Pooler), ¶7. Moreover, as noted

  above, the extensive list of topics provided by the United States includes topics that

  at least arguably could lead to Judge Pooler testifying about the basis for her

  accepting the plea of this Defendant, or at least could allow the jury to believe that

  her testimony was directed to what she did regarding this Defendant, and that is

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  improper. For example, the United States seeks to ask Judge Pooler about “the

  defendant’s state of mind at the time of the plea” or that in her plea colloquy she

  explains “the potential effect [of a probation violation] on the defendant’s exposure to

  incarceration,” and such topics clearly are directed to what occurred regarding this

  Defendant.3

        “[J]udges are under no obligation to divulge the reasons that motivated them

  in their official acts; the mental processes employed in formulating the decision may

  not be probed.” United States v. Cross, 516 F. Supp. 700, 707 (M.D. Ga. 1981), aff’d

  742 F.2d 1279 (11th Cir. 1984). “[T]he overwhelming authority from the federal courts

  in this country … makes it clear that a judge may not be compelled to testify

  concerning the mental processes used in formulating official judgments or the reasons

  that motivated him in the performance of his official duties.” United States v. Roth,

  332 F. Supp. 2d 565, 567-68 (S.D.N.Y. 2004) (citations omitted. In Roth, the

  defendants in a criminal case sought the testimony of a state court judge who had

  accepted a plea in a related case. Although the subpoena in Roth was issued by

  defense counsel and not the prosecution, the case is similar to the present case

  because it was a party seeking to learn what transpired in the courtroom during a

  plea proceeding, and that party expanded the inquiry to include the presiding judge’s

  mental processes in accepting the plea. Id., at 567. The District Court granted the



  3Itappears, according to another motion filed by the United States, that Defendant
  may intend to attack his plea entered before Judge Pooler based on alleged
  incompetency at that time. See Motion in Limine to Preclude Defendant from
  Introducing Evidence of Mental Health Condition (ECF No. 65), at 6. This is yet
  another reason counseling against Judge Pooler’s testimony.
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  state attorney general’s request to quash the subpoena, noting that there is a

  presumption against judicial testimony and finding that the judge’s mental process

  “may not be scrutinized by requiring the judge to testify.” Id., at 570.

        A court’s judgment or order should not be subject to later review, even

  inadvertently, by testimony of a judge as to what she had in mind at the time of her

  decision. “Should a judge be vulnerable to subpoena as to the basis of every action

  taken by him, the judiciary would be open to frivolous attacks upon its dignity and

  integrity, and … interruption of its ordinary and proper functioning.” U.S. v. Dowdy,

  440 F. Supp. 894, 896-97 (W.D. Va. 1977) (internal quotation omitted) (quashing

  subpoena to federal judge where no “extraordinary circumstances” were shown to

  permit examination in the judge’s decision-making process). In 1984, the Fifth

  Circuit, sitting en banc, applied this rule in a habeas corpus proceeding, noting that

  “it is a firmly established rule in our jurisprudence that a judge may not be asked to

  testify about his mental processes in reaching a judicial decision.” Washington v.

  Strickland, 693 F.2d 1243, 1263 (5th Cir. 1982), reversed on other grounds, 466 U.S.

  668 (1984). There are three “strong” policy reasons oft-cited for the rule against

  judicial testimony: 1) such testimony poses “special risks of inaccuracy” when there

  is a long passage of time because a judge would be “unlikely to be able to reconstruct

  his thought processes accurately,” 2) the finality of judgments and integrity of court

  decisions “would be threatened by a rule that enabled parties to attack a judgment

  by probing the mental processes of a judge,” and 3) in the habeas corpus context to

  permit parties to probe the mental processes of a state judge testifying years later in



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  federal court would exacerbate friction between the state and federal justice systems.

  Washington, at 1263.

        As Judge Middlebrooks noted, in United States v. Gonzalez, 718 F. Supp. 2d

  1341, 1347 (S.D. Fla. 2010), “[c]ourts have refused to allow a judge to testify in a

  subsequent proceeding as to the mental processes which he performed in deciding a

  case for several reasons, including unfair prejudice to the opposing party.” Id.

  (citation omitted). In Gonzalez, the United States sought to introduce testimony from

  United States District Court Judge Cecilia Altonaga, who had presided over a

  suppression hearing, but had denied the motion to suppress as moot. The United

  States sought to establish, in a subsequent prosecution for perjury, whether Judge

  Altonaga was influenced by the allegedly false statements (the alleged perjury) of the

  defendants at the suppression hearing. Judge Middlebrooks applied Rule 403, Fed.

  R. Evid., and concluded that the “attenuated probative value” of Judge Altonaga’s

  testimony would be “substantially outweighed by the danger of unfair prejudice.” Id.,

  at 1349. He noted that the testimony of Judge Altonaga would be speculative because

  she did not make a decision on the suppression motion, and “[i]f she [had made] a

  decision on that motion, her testimony would be improper for a host of other reasons.”

  Id. (citation omitted) (emphasis added).

        In United States v. Frankenthal, 582 F.2d 1102 (7th Cir. 1978), the court noted

  that calling a judge to give testimony in any proceeding is a “very delicate matter.”

  Id., at 1107. In that case, a federal judge who had presided over the start of a case

  was called to testify during later proceedings in that case after he recused himself.



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  His testimony was deemed permissible because the judge was “the only possible

  source of testimony” regarding an ex parte meeting that he held early in the case with

  a person who later was a witness for the defense, and evidence of that meeting was

  required by the United States to prove that the witness was biased, and also because

  the judge gave only “brief and strictly factual testimony.” Id., at 1108.

         Here, it is unknown whether Judge Pooler is the only source of information as

  to what was discussed at the plea colloquy involving this Defendant. No transcript of

  the proceeding is reflected in the state court docket.4 It is unknown whether the state

  attorney or the public defender might be a source of information about what was

  discussed at the proceeding. In addition, it is clear that Judge Pooler is not the only

  source of information for at least two of the topics that the United States has

  identified: the effect of a no-contest plea, and the difference between misdemeanor

  and felony offenses. At this stage, the record does not support a finding that Judge

  Pooler is the only possible source of information. Also, the United States apparently

  intends for Judge Pooler to explain to the jury several general principles of criminal

  court proceedings, which far exceeds the type of testimony at issue in Frankenthal.



         Judge Pooler should not be compelled to discuss her thought process in

  adjudicating a case because that has long been held to not be the proper subject of




  4The  United States has provided an Affidavit that the paper notes of the court
  reporter who transcribed the proceeding were “turned over to Apex Reporting” (ECF
  No. 66-1), and has represented that Apex Reporting advised the United States that
  the transcript cannot be produced.
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   compelled testimony. See, e.g., U.S. v. Morgan, 313 U.S. 409, 422 (1941),

   (“examination of [the mental processes of] a judge would be destructive of judicial

   responsibility”), citing Fayerweather. In addition, the subpoena should be quashed

   under Rule 17(c)(2), Fed. R. Crim. P., because for Judge Pooler to comply with the

   subpoena would interfere with her judicial duties.

         WHEREFORE, Judge Pooler respectfully requests that this Court quash the

   subpoena and enter any such further relief as the Court deems proper.


                           CERTIFICATE OF CONFERRAL

           Pursuant to Local Rule 88.9, S.D. Fla. L.R., undersigned counsel certifies that
   she has conferred with Assistant United States Attorney Klepach in a good faith
   effort to resolve the issues raised in this motion and has been unable to do so.


                                    Respectfully Submitted,

                                    ASHLEY BROOKE MOODY
                                    FLORIDA ATTORNEY GENERAL

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                               CERTIFICATE OF FILING

         PURSUANT TO Rule 49, Fed. R. Crim. P., Local Rule 5.1(b), S.D. Fla. L.R.,
   and Section 3.K.(4) of the CM/ECF Administrative Procedures of the Southern

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   District of Florida, I hereby certify that on February 22, 2022, I electronically filed
   the foregoing document with the Clerk of the Court using CM/ECF, which will
   generate a Notice of Electronic Filing to all counsel of record.


                                                   Barbara Junge
                                                   Barbara Junge
                                                   Assistant Attorney General




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